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                                                                       U.S. Department of Justice

                                                                       National Security Division

  Counterintelligence and Export Control Section                       Washington, D.C. 20530




                                                                       October 24, 2022


  By ECF and Courtesy Copy

  Judge Raymond J. Dearie
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11202

  Re:       Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON –
            Joint Supplement to Log of Disputes

  Dear Judge Dearie:

          Plaintiff and the government’s Privilege Review Team (collectively, the “parties”) have
  resolved all outstanding attorney-client privilege disputes with respect to the materials segregated
  by the Privilege Review Team (the “Filter Materials”). 1 Specifically, in the interest of efficiently
  resolving such issues and avoiding unnecessary litigation, the parties offer the following:

         Plaintiff withdraws his initial claims of attorney-client privilege and attorney work product
  doctrine with respect to the following Filter A and C Materials (referred to by document number
  and Bates ranges as set forth in the October 3, 2022 dispute log (DE:136)):

                  •    Document 5 at A-006 to A-016
                  •    Document 8 at A-023 to A-24 and A-27 to A-028
                  •    Document 10 at A-031 to A-032
                  •    Document 12 at A-034 to A-035
                  •    Document 13 at A-041 to A-042
                  •    Document 19 at A-065 to A-091
                  •    Document 20 A-092 to A-098
                  •    Document 21 at A-099 to A-137
                  •    Document 22 at C-001




            1
           Plaintiff previously did not assert attorney-client privilege or attorney work product
  doctrine with respect to the following Bates-numbered documents: A-001 to A-005; A-017 to A-
  022; A-025 to A-026; A-029 to A-030; A-033; A-036 to A-040; A-043 to A-058. (Docket Entry
  (DE) 138 at 1.) Those items were released to the government’s Case Team. (Id. at 2-3.)
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  The parties agree that these materials can be provided immediately to the government’s Case Team
  so that issues concerning executive privilege and the Presidential Records Act can be resolved.
  (See DE 138 at 1-2.)

          The government, through its Privilege Review Team, agrees to handle Document 17 (Bates
  range A-59 to A-60) and Document 18 (Bates range A-061 to A-64) in the same manner as the
  Filter B Materials. (See DE:138 at 2-3.) Namely, the Privilege Review Team will return the
  originals to Plaintiff but maintain a control copy. (See id.)

          In conclusion, the parties jointly and respectfully submit that all issues concerning attorney-
  client privilege and work product doctrine with respect to the Filter Materials have been resolved.

                                                                 Respectfully submitted,

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